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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

 In re:                                     §
                                            §
 HIGHLAND CAPITAL                           §    Chapter 11
 MANAGEMENT, L.P.                           §
                                            §    Case No. 19-34054-sgj11
          Debtor.                           §



HUNTER MOUNTAINT INVESTMENT TRUST’S REQUEST FOR ORAL HEARING
    OR, ALTERNATIVELY, A SCHEDULE FOR EVIDENTIARY PROFFER




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         Hunter Mountain Investment Trust (“HMIT”), Movant in these Contested

Proceedings, submits this Request for Oral Hearing or, Alternatively, a Schedule for

Evidentiary Proﬀer (“Request”), and would show: 1

                                          INTRODUCTION

         1.     On June 12, 2023, at 8:15 p.m., Highland Capital Management LP, Highland

Claimant Trust and James P. Seery, Jr. filed their Reply in Further Support of their Joint

Motion to Exclude Testimony of Steve Pully and Scott Van Meter (Doc. 3841) (“Reply

Brief”). The Claims Purchasers subsequently joined this Reply Brief on June 12, 2023 (Doc.

3842).

         2.     During the hearing on June 8, 2023, the Court instructed HMIT that it was

not allowed to file a sur-reply concerning these expert witness issues. See June 8, 2023

Hearing Transcript at 25:3-12; 26:14-18. Accordingly, this current request is not submitted

as a sur-reply, but instead seeks an oral hearing in connection with the matters raised in

the Joint Motion to Exclude Testimony (Doc. 3820), HMIT’s Response to the Joint Motion




1 This Request is ﬁled subject to and without waiving any of HMIT’s substantive and procedural rights
including, but not limited to, HMIT’s objections to the evidentiary format of the June 8, 2023, hearing (“June
8 Hearing”) on HMIT’s Emergency Motion for Leave to File Veriﬁed Adversary Proceeding [Doc. 3699] and
Supplement to Emergency Motion for Leave to File Veriﬁed Adversary Proceeding [Doc. 3760] (together
the “Motion for Leave”), including objections to the Court’s May 22, 2023 order [Doc. 3787] ("May 22
Order"). HMIT’s prior objections to an evidentiary hearing were asserted by HMIT during the April 24,
2023, Status Conference, and were further set forth in HMIT’S Reply Brief in Support of its Motion for Leave
[Doc. 3785], during the May 26, 2023, hearing regarding Hunter Mountain Investment Trust’s Emergency
Motion for Expedited Discovery or, Alternatively, for Continuance of the June 8, 2023 Hearing [Doc 3788],
and during the June 8 Hearing, all of which objections are incorporated herein for all purposes (“HMIT’s
Evidentiary Hearing Objections”).


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to Exclude Testimony (Doc. 3828), the Reply Brief (Doc. 3841), and the related joinders

including, without limitation, the Daubert challenges advanced as to HMIT’s experts.

      3.     Both Scott Van Meter and Steve Pully are qualified to testify to the matters

identified in HMIT’s Witness List dated June 5, 2023. (Doc. 3818). HMIT is entitled to

present both Mr. Pully and Mr. Van Meter for an oral hearing to establish their

qualifications under Rule 702 of the Federal Rules of Evidence, as well as the relevance

and reliability of their opinions and methodologies under Rule 703. Although HMIT was

under no obligation to provide expert reports or other expert disclosures when it served

its Witness List on June 5, 2023, HMIT’s experts are now being challenged. Therefore,

HMIT requests an evidentiary hearing to present its expert witnesses as to their

qualifications and the reliability of their opinions. Alternatively, HMIT requests a

schedule to provide expert witness proffers concerning their qualifications, opinions, the

bases of their opinions, and the relevance and reliability of their opinions and methods.

Dated: June 13, 2023.

                                                Respectfully Submitted,

                                                PARSONS MCENTIRE MCCLEARY
                                                PLLC

                                                By: /s/ Sawnie A. McEntire
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                                                     Attorneys for Hunter Mountain
                                                     Investment Trust



                                CERTIFICATE OF SERVICE
       I certify that on the 13th day of June 2023, a true and correct copy of the foregoing
motion was served on all counsel of record or, as appropriate, on the Respondents
directly.

                                                 /s/ Sawnie A. McEntire
                                                 Sawnie A. McEntire




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